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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:06CR310
                      Plaintiff,                  )
                                                  )
         vs.                                      )              ORDER
                                                  )
JAKE R. DODGE and                                 )
KYLE R. STEENBLOCK,                               )
                                                  )
                      Defendants.                 )
         This matter is before the court on the motion to continue by defendant Kyle R.
Steenblock (Steenblock) (Filing No. 32). Steenblock seeks a continuance of the trial of this
matter for at least sixty days. Steenblock's counsel represents that counsel for the
government has no objection to the motion. Steenblock has submitted an affidavit in
accordance with paragraph 9 of the progression order whereby Steenblock consents to the
motion and acknowledges he understands the additional time may be excludable time for
the purposes of the Speedy Trial Act (Filing No. 33). Upon consideration, the motion will
be granted. Trial of this matter will be continued as to both defendants.
         IT IS ORDERED:
         1.    Steenblock's motion to continue trial (Filing No. 32) is granted.
         2.    Trial of this matter is re-scheduled for January 29, 2007, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 17, 2006 and January 29, 2007, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant's counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).
         DATED this 17th day of November, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
